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                    7 INSURANCE COMPANY

                    8
                                                        UNITED STATES DISTRICT COURT
                    9
                                                  DISTRICT OF NEVADA, NORTHERN DIVISION
                   10
                        KEITH FINKELSTEIN,                                  CASE NO.:      3:20-cv-411-MMD-CLB
                   11
                                           Plaintiff,
                   12                                                       DEFENDANT’S MOTION TO REMOVE
                                 vs.                                        ATTORNEY FROM CAPTION AND
                   13                                                       SERVICE LIST
                      USAA CASUALTY INSURANCE
                   14 COMPANY; JOHN DOES I-XX, inclusive;
                      ABC CORPORATIONS 1-X, inclusive; and
                   15 BLACK AND WHITE COMPANIES 1-X,
                      inclusive,
                   16
                                 Defendants.
                   17

                   18            Defendant USAA CASUALTY INSURANCE COMPANY (“Defendant”), by and through
                   19 its attorney of record Robert W. Freeman, Esq., and Priscilla L. O’Briant, Esq., of the law firm of

                   20 Lewis Brisbois Bisgaard & Smith, LLP, hereby request that Damon A. Stemen, Esq. be removed

                   21 from the caption and list of counsel to be noticed.

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LEWIS
BRISBOIS
BISGAARD
& SMITH LLP             4851-4350-6377.1
ATTORNEYS AT LAW
                        Case 3:20-cv-00411-MMD-CLB Document 14 Filed 08/28/20 Page 2 of 3




                   1             Damon A. Stemen, Esq. is no longer with Lewis Brisbois Bisgaard & Smith, LLP. Given
                   2 the remaining attorneys at Lewis Brisbois Bisgaard & Smith, LLP who have appeared on behalf of

                   3 Defendant, no party will be prejudiced by this counsel’s withdrawal.

                   4            DATED this 27th day of August, 2020.
                   5                                            LEWIS BRISBOIS BISGAARD & SMITH          LLP

                   6

                   7
                                                                BY          /s/ Priscilla L. O’Briant
                   8                                                 ROBERT W. FREEMAN
                                                                     Nevada Bar No. 3062
                   9                                                 PRISCILLA L. O’BRIANT
                                                                     Nevada Bar No. 10171
                   10                                                6385 S. Rainbow Boulevard, Suite 600
                                                                     Las Vegas, Nevada 89118
                   11                                                Attorneys for Defendant USAA CASUALTY
                                                                     INSURANCE COMPANY
                   12

                   13
                                                                            IT IS SO ORDERED.
                   14
                                                                            Dated: August 28, 2020
                   15

                   16                                                       ______________________________________
                                                                            UNITED STATES MAGISTRATE JUDGE
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LEWIS              28   4851-4350-6377.1                                2
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& SMITH LLP
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                        Case 3:20-cv-00411-MMD-CLB Document 14 Filed 08/28/20 Page 3 of 3




                   1                                     CERTIFICATE OF SERVICE
                   2             Pursuant to FRCP 5(b), I certify that I am an employee of, and that on this 27th day of
                   3 August, 2020, I did cause a true copy of DEFENDANT’S MOTION TO REMOVE

                   4 ATTORNEY FROM CAPTION AND SERVICE LIST to be served via electronic service by

                   5 the U.S. District Court CM/ECF system to the parties on the Electronic Filing System.

                   6

                   7
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                   8    JULIE McGRATH THROOP, ESQ.
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                   9    Reno, NV 89501
                        (775) 322-6500 T
                   10   (775) 322-3123 F
                   11   Attorney for Plaintiff
                        Keith Finklestein
                   12

                   13

                   14                                           By   /s/ Anne Cordell
                   15                                                An Employee of
                                                                     LEWIS BRISBOIS BISGAARD & SMITH LLP
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